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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

MARYLAND CHAPTER OF THE SIERRA
CLUB, et al.,

                               Plaintiffs,
        v.                                           Civil Action No. DKC 22-2597

FEDERAL HIGHWAY ADMINISTRATION,
et al.,


                               Defendants.

NORTHERN VIRGINIA CITIZENS’
ASSOCIATION,

                               Plaintiff,            Civil Action No. DKC 22-3336
v.

FEDERAL HIGHWAY ADMINISTRATION,
et al.,

                               Defendants.

                                      [PROPOSED] ORDER

        It is this ____ day of ___________, 2023, by the United States District Court for the

District of Maryland hereby ORDERED that:

     1. The Joint Motion to Enter a Briefing Schedule BE, and the same hereby IS, GRANTED;

     2. Filings in the above-captioned consolidated cases shall be due on the following dates:

        Plaintiffs’ Joint Opening Brief: June 20, 2023

        Defendants’ Opening Briefs and Oppositions to Plaintiffs’ Motion for Summary

        Judgment: August 7, 2023

        Plaintiffs’ Joint Reply in Support of their Motion for Summary Judgment and

        Opposition to Defendants’ Motion for Summary Judgment: September 5, 2023
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Defendants’ Replies: October 4, 2023

Joint Appendix: October 18, 2023



                                           __________________________
                                           DEBORAH K. CHASANOW
                                           United States District Judge




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